                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 ANNIE MONNETT BALL,                               )
                                                   )
                Plaintiff,                         )
                                                   )
 v.                                                )           No. 3:19-CV-445-CLC-HBG
                                                   )
 CITY OF NEWPORT, et al.,                          )
                                                   )
                Defendants.                        )

                                              ORDER

        This case is before the undersigned pursuant to 28 U.S.C. § 636, the Rules of this Court,

 and Standing Order 13-02.

        Now before the Court is Defendants City of Newport and Johnathan Ball’s Motion to

 Strike. [Doc. 50] Defendants move the Court to strike Plaintiff’s Response to Motion for Summary

 Judgment. [Doc. 48] As grounds, Defendants state that the filing contains unredacted birthdates,

 in violation of Fed. R. Civ. P. 5.2. In addition, Defendants contend that Plaintiff’s filing includes

 documents obtained from the TBI, which are subject to a Limited Nondisclosure Agreement.

        On August 31, 2020, the Court ordered that the documents in question be temporarily

 sealed and that the parties meet and confer to discuss the possible resolution of the issues. [Doc.

 52] On September 3, 2020, the parties filed their Joint Status Report, indicating that the parties

 agreed that Plaintiff would withdraw the currently sealed response [Doc. 48], and would submit a

 properly redacted response.

        In light of the agreement of the parties as to the resolution of this matter, Defendant’s

 Motion to Strike [Doc. 50] is hereby DENIED as MOOT. Plaintiff SHALL file her redacted




Case 3:19-cv-00445-CLC-HBG Document 55 Filed 09/14/20 Page 1 of 2 PageID #: 558
 response on or before September 21, 2020. Upon the filing of the redacted response, the Clerk’s

 Office SHALL REMOVE the unredacted document [Doc. 48] from the record.

        IT IS SO ORDERED.

                                            ENTER:




                                            United States Magistrate Judge




                                               2

Case 3:19-cv-00445-CLC-HBG Document 55 Filed 09/14/20 Page 2 of 2 PageID #: 559
